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                           Exhibit 2-4

     Class 7 Common Stock Interests Beneficial Holder Ballot
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re                                                            Chapter 11

                                                                 Case No. 23-10831 (MFW)
Lordstown Motors Corp., et al., 1
                                                                 (Jointly Administered)
                                           Debtors.




               BENEFICIAL HOLDER BALLOT FOR VOTING TO
    ACCEPT OR REJECT THE MODIFIED FIRST AMENDED JOINT CHAPTER 11
     PLAN OF LORDSTOWN MOTORS CORP. AND ITS AFFILIATED DEBTORS

                            CLASS 7 – COMMON STOCK INTERESTS

PLEASE CAREFULLY READ THE ENCLOSED INSTRUCTIONS FOR COMPLETING
THIS BALLOT BEFORE COMPLETING THIS BALLOT.

THIS BALLOT MUST BE COMPLETED, EXECUTED AND RETURNED TO YOUR
BANK, BROKER, OR OTHER INTERMEDIARY (EACH, A “NOMINEE”), BASED ON
THE INSTRUCTIONS PROVIDED BY YOUR NOMINEE, TO ALLOW YOUR
NOMINEE TO PROCESS YOUR VOTE AND SUBMIT A MASTER BALLOT SO THAT
IT IS ACTUALLY RECEIVED BY THE SOLICITATION AGENT ON OR BEFORE
DECEMBER 12, 2023 AT 5:00 P.M. (PREVAILING EASTERN TIME) (THE “VOTING
DEADLINE”). IF THIS BALLOT IS NOT PROPERLY COMPLETED, SIGNED AND
RECEIVED BY YOUR NOMINEE IN SUFFICIENT TIME TO PERMIT YOUR
NOMINEE TO DELIVER YOUR VOTE TO THE SOLICITATION AGENT ON OR
BEFORE THE VOTING DEADLINE, THEN THE VOTES TRANSMITTED BY THIS
BALLOT WILL NOT BE COUNTED.

ACCESS TO SOLICITATION MATERIALS:

THE PLAN, DISCLOSURE STATEMENT, AND DISCLOSURE STATEMENT ORDER,
INCLUDING THE ATTACHED SOLICITATION PROCEDURES AND OTHER
EXHIBITS,    MAY   BE    ACCESSED,    FREE   OF    CHARGE   AT
HTTPS://WWW.KCCLLC.NET/LORDSTOWN      BY   CLICKING   ON   THE

1
    The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
    Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
    address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
                                                        1
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“SOLICITATION MATERIALS” TAB ON THE HOME PAGE.

YOU CAN ALSO REQUEST, FREE OF CHARGE, COPIES IN PAPER OR FLASH
DRIVE FORMAT OF ANY SOLICITATION PACKAGE MATERIALS BY (A)
CALLING THE DEBTORS’ TOLL-FREE RESTRUCTURING HOTLINE AT (877) 709-
4757 (U.S./CANADA) OR (424) 236-7235 (INTERNATIONAL); (B) VISITING THE
DEBTORS’             RESTRUCTURING              WEBSITE             AT
HTTPS://WWW.KCCLLC.NET/LORDSTOWN; (C) WRITING TO LORDSTOWN
PROCESSING CENTER, C/O KURTZMAN CARSON CONSULTANTS LLC, 222 N.
PACIFIC COAST HIGHWAY, SUITE 300, EL SEGUNDO, CA 90245, OR (D)
EMAILING LORDSTOWNINFO@KCCLLC.COM (WITH ‘LORDSTOWN’ IN THE
SUBJECT LINE). AS SOON AS REASONABLY PRACTICABLE AFTER RECEIVING
SUCH A REQUEST, THE SOLICITATION AGENT WILL PROVIDE YOU WITH THE
COPIES YOU REQUESTED.

IF YOU VOTE TO ACCEPT THE PLAN, YOU WILL BE RELEASING THE
RELEASED PARTIES FROM ANY AND ALL CLAIMS/CAUSES OF ACTION TO THE
EXTENT PROVIDED IN ARTICLE VIII.D OF THE PLAN AND YOU WILL BE
IRREVOCABLY BOUND BY SUCH RELEASES. IF YOU VOTE TO REJECT THE
PLAN, YOU MAY OPT IN TO SUCH RELEASES ONLY IF YOU INDICATE SUCH
OPT IN ON THE BALLOT. IF YOU DO NOT RETURN THE BALLOT OR ABSTAIN
FROM VOTING ON THE PLAN, YOU WILL NOT BE BOUND BY THE RELEASES.


       The above-captioned debtors and debtors in possession (collectively, the “Debtors”)
have sent you this ballot (the “Beneficial Holder Ballot”) because our records indicate that you
are a beneficial holder (a “Beneficial Holder”) of Class 7 Common Stock Interests in the
Debtors as of October 31, 2023 (the “Voting Record Date”). As such, you have a right to vote
to accept or reject the Modified First Amended Joint Chapter 11 Plan of Lordstown Motors
Corp. and Its Affiliated Debtors, filed on September 1, 2023 [D.I. [●]] (together with all
schedules and exhibits thereto, and as may be modified, amended, or supplemented, the
“Plan”). 2

        The rights of Holders of Equity Interests are described in the Debtors’ Disclosure
Statement Pursuant to 11 U.S.C. § 1125 with Respect to Modified First Amended Joint Chapter
11 Plan of Lordstown Motors Corp. and Its Affiliated Debtors, filed on September 1, 2023 [D.I.
[●]] (together with all schedules and exhibits thereto, and as may be modified, amended, or
supplemented, the “Disclosure Statement”). On [●], 2023, the United States Bankruptcy Court
for the District of Delaware (the “Bankruptcy Court”) entered an order (the “Disclosure
Statement Order”) approving (i) the Disclosure Statement as containing adequate information
under section 1125 of the Bankruptcy Code and (ii) the procedures for soliciting votes to accept
or reject the Plan (the “Solicitation Procedures”). Bankruptcy Court approval of the Disclosure
Statement does not indicate approval of the Plan by the Bankruptcy Court. This Beneficial

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    Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Plan or
    the Disclosure Statement, as applicable.
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Holder Ballot may not be used for any purpose other than for casting votes to accept or
reject the Plan, making certain certifications with respect thereto, and opting in to certain
releases under the Plan. If you believe that you have received this Beneficial Holder Ballot
in error or if you believe that you have received the wrong Beneficial Holder Ballot, please
contact your Nominee.

        You are receiving along with this Beneficial Holder Ballot, (i) a cover letter describing
the contents of the Solicitation Package and providing instructions to obtain access
electronically, free of charge, to the Plan, Disclosure Statement and Disclosure Statement Order,
including the Solicitation Procedures and other exhibits, at the Debtors’ restructuring website
(electronic access described above), and instructions for obtaining (free of charge) additional
copies of the materials provided in electronic format by contacting the Solicitation Agent, and
urging the Holders of Claims and Interests in each of the Voting Classes to vote to accept the
Plan; (ii) the Notice of (I) Approval of Disclosure Statement, (II) Establishing Voting Record
Date, (III) Hearing on Confirmation of the Proposed Plan, (IV) Procedures for Objecting to the
Confirmation of the Proposed Plan, and (V) Procedures and Deadline for Voting on the
Proposed Plan; and (iii) instructions that will direct you to the solicitation section of the
Debtors’ restructuring website, where all of the materials contained in the Solicitation Packages
are located, including the Disclosure Statement and all filed exhibits thereto, including the Plan,
and the Disclosure Statement Order and all exhibits thereto.

        If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether
or not you vote or if you vote to reject the Plan. To have your vote counted, you must
complete, sign, and return this Beneficial Holder Ballot to your Nominee in sufficient time to
permit your Nominee to deliver your vote to the Solicitation Agent on the Master Ballot on or
before the Voting Deadline.

        As a Holder of an impaired Claim or Interest under the Plan, if you vote to accept
the Plan, you consent to providing the releases contained in Article VIII.D of the Plan. As
set forth below, if you reject the Plan and affirmatively opt in to the release provision of the
Plan by checking the applicable box on your Ballot below, you will be deemed to consent to
providing the releases contained in Article VIII.D of the Plan. You will only be provided
with the option to opt in to the releases in Article VIII.D of the Plan if you vote to reject the
Plan. For the avoidance of any doubt, if you vote to accept the Plan you will be
automatically agreeing to consent to the releases contained in Article VIII.D, you will not
be provided with a separate option to opt in or out of such releases, and the opt-in option
on the Ballot will not be applicable to you. If you do not return the ballot or abstain from
voting, you will not be bound by the releases contained in Article VIII.D of the Plan. Please
be advised that the Plan also contains certain other release, injunction and exculpation
provisions. If the Plan is confirmed by the Bankruptcy Court, these sections will be
binding on you whether or not you decide to opt in to the releases in Article VIII.D of the
Plan. For a full description of these provisions, see Article IV.H of the Disclosure
Statement and Article VIII of the Plan.

       You should review the Disclosure Statement and the Plan before you vote. You may
wish to seek legal advice concerning the Plan and the Plan’s classification and treatment of
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your Claim or Interest. Your Equity Interests have been placed in Class 7 (Common Stock
Interests) under the Plan. If you hold Claims or Interests in more than one Class, you will
receive a ballot for each Class in which you are entitled to vote.

       If your Nominee does not receive the completed Beneficial Holder Ballot to provide
enough time for your Nominee to submit the Master Ballot on or before the Voting Deadline,
which is December 12, 2023 at 5:00 p.m. (Eastern Time), and if the Voting Deadline is not
extended, votes included in this Beneficial Holder Ballot will not count. If the Bankruptcy
Court confirms the Plan, it will bind all holders of Claims and Interests regardless of
whether and how they vote. Please return this ballot based on the instructions provided to
you by your Nominee.

     THE DEBTORS AND THE SOLICITATION AGENT ARE NOT AUTHORIZED
TO PROVIDE, AND WILL NOT PROVIDE, LEGAL ADVICE.




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                                           BALLOT

PLEASE READ THE ATTACHED VOTING INFORMATION AND INSTRUCTIONS
BEFORE COMPLETING THIS BENEFICIAL HOLDER BALLOT

PLEASE COMPLETE ALL APPLICABLE ITEMS BELOW. PLEASE FILL IN ALL OF
THE INFORMATION REQUESTED UNDER ITEM 4. IF THIS BENEFICIAL
HOLDER BALLOT HAS NOT BEEN PROPERLY SIGNED IN THE SPACE
PROVIDED, YOUR VOTE MAY NOT BE VALID OR COUNTED AS HAVING BEEN
CAST.


Item 1. Beneficial Holder of Common Stock Interests.

        The undersigned hereby certifies that, as of the Voting Record Date, the undersigned was
the Beneficial Holder of Common Stock Interests. If you do not know the amount of your
Common Stock Interests, please contact your Nominee for this information. You must check the
applicable box in the right-hand column below to “accept” or “reject” the Plan for Class 7 in
order to have your vote counted.

        Please note that you are voting all of your Common Stock Interests either to accept or
reject the Plan. You may not split your vote. If you do not indicate that you either accept or
reject the Plan by checking the applicable box below, your vote will not be counted. If you
indicate that you both accept and reject the Plan for your Equity Interests by checking both boxes
below, your vote will not be counted.

       The Beneficial Holder of the Common Stock Interests votes to (please check one and
only one box):

Voting       Description  Amount of                       Vote to Accept or Reject the Plan
 Class                     Interest
7      Holder of Common _____________                     ACCEPT (vote FOR) the Plan
       Stock Interests                                 (By voting to accept the Plan you are
                                                       consenting to being a Releasing Party
                                                       with respect to the Third Party Release
                                                       contained in the Plan)

                                                           REJECT (vote AGAINST) the Plan


Item 2. Releases by Holders of Claims and Interests.

        The undersigned, as a holder (or representative of a holder of) Class 7 Common Stock
Interests, elects to:


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     ☐ Opt In to the Third Party Release and Release Such Holder’s Claims in Accordance with
                                     Article VIII.D of the Plan

     ONLY APPLICABLE IF YOU VOTE TO REJECT THE PLAN. IF YOU VOTE
TO ACCEPT THE PLAN, YOU WILL ALSO BE CONSENTING TO THE RELEASE
BELOW CONTAINED IN ARTICLE VIII.D OF THE PLAN REGARDLESS OF
WHETHER YOU CHECK THE ABOVE BOX OR NOT.

    IF YOU VOTE TO REJECT THE PLAN, YOU ARE ENTITLED TO OPT IN TO
THE RELEASE BELOW CONTAINED IN ARTICLE VIII.D OF THE PLAN BY
CHECKING THE BOX IN ITEM 2 OF THIS BENEFICIAL HOLDER BALLOT.

     IF YOU DO NOT RETURN THE BALLOT OR ABSTAIN FROM VOTING ON
THE PLAN, YOU WILL NOT BE BOUND BY THE RELEASES.

                 NOTICE REGARDING CERTAIN RELEASE, EXCULPATION
                      AND INJUNCTION PROVISIONS IN THE PLAN

       If you vote to reject the Plan AND opt in to the releases by Holders of Claims and
Interests, you will be bound by the releases contained in Article VIII.D of the Plan, which
provide as follows:

D.       Releases by Holders of Claims and Interests

       As of the Effective Date, for good and valuable consideration, the adequacy of which
is hereby confirmed, each Releasing Party 3 shall be deemed to have conclusively,
absolutely, unconditionally, irrevocably, and forever released, waived, and discharged each
Debtor, Post-Effective Date Debtor, and other Released Party 4 from any and all Claims,

3
  “Releasing Party” means each of the following in their capacity as such: (i) all Holders of Claims or Interests that
vote to accept the Plan; (ii) all Holders of Claims or Interests that are entitled to vote on the Plan who vote to reject
the Plan and opt in to the third party releases provided for in Article VIII.D by checking the box on the applicable
Ballot or form indicating that they opt in to granting such releases in the Plan submitted on or before the Voting
Deadline; and (iii) with respect to each of the foregoing Entities in clauses (i) and (ii), such Entity and its current and
former Affiliates, and such Entities’ and their current and former Affiliates’ current and former directors, managers,
officers, predecessors, successors, and assigns, subsidiaries, and each of their respective current and former equity
holders, officers, directors, managers, principals, members, employees, agents, advisory board members, financial
advisors, partners, attorneys, accountants, managed accounts or funds, management companies, fund advisors,
investment bankers, consultants, representatives, and other professionals, each in its capacity as such; provided,
however, that the Entities identified in part (iii) shall be Releasing Parties only to the extent the corresponding
Entities in parts (i) and (ii) are legally able to bind such Entities in part (iii) to the releases contained in the Plan
under applicable law; provided, further, that, subject to the terms of Article VIII.D, the Putative Class Action
Representatives          shall        not         be       deemed          to         be         Releasing          Parties.
4
  “Released Party” means each of the following in their capacity as such: (i) the Debtors; (ii) the Post-Effective Date
Debtors; (iii) each of the Debtors’ Estates; (iv) the UCC, (v) each of the UCC Members, solely in its capacity as a
UCC Member; (vi) the EC; (vii) each of the EC Members, solely in its capacity as an EC Member; and (viii) with
respect to each of the foregoing Entities in clauses (i) through (vii), their respective current and former officers,
directors, employees, attorneys, accountants, investment bankers, consultants and other professionals other than
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obligations, rights, suits, damages, Causes of Action, remedies, and liabilities whatsoever
(in each case, whether prepetition or postpetition), including any derivative Claims
asserted or that may be asserted on behalf of the Debtors or their Estates, that such Entity
would have been legally entitled to assert in their own right (whether individually or
collectively) or on behalf of the Holder of any Claim or Interest, whether known or
unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity, or
otherwise, based on or relating to, or in any manner arising from, in whole or in part, the
Debtors or the conduct of their business (in each case, whether prepetition or postpetition),
the formulation, preparation, dissemination, or negotiation of the Plan, the Disclosure
Statement, any contract, instrument, release, or other agreement or document created or
entered into in connection with the Plan, the Disclosure Statement, the Chapter 11 Cases,
the pursuit of Confirmation, the pursuit of Consummation, the administration and
implementation of the Plan, including the distribution of property under the Plan, or any
other related agreement, or upon any other act or omission, transaction, agreement, event,
or other occurrence taking place on or before the Effective Date (in each case, whether
prepetition or postpetition) related or relating to the foregoing. Without limiting the
generality of the foregoing, and subject to the paragraph directly below, pursuant to the
Releases set forth in this Article VIII.D, each Releasing Party shall be deemed to have
conclusively, absolutely, unconditionally, irrevocably, and forever released, waived, and
discharged each Released Party from any Claims related to or asserted in the Putative
Class Actions (which actions include, for the avoidance of any doubt, the Ohio Securities
Class Action, the Delaware Shareholder Class Action, and the Post-Petition Securities
Action). Notwithstanding anything to the contrary in the foregoing, the releases set forth in
this Article VIII.D shall not be construed as (i) releasing any Released Party from Claims
or Causes of Action arising from an act or omission that is judicially determined by a Final
Order to have constituted actual fraud, willful misconduct, or gross negligence,
(ii) releasing any timely filed Proof of Claim (as may be validly amended under the Plan or
as maybe permitted by the Bankruptcy Code and Bankruptcy Rules) or any post-Effective
Date obligations of or under (A) any party or Entity under the Plan, (B) any Executory
Contract or Unexpired Lease to the extent such Executory Contract or Unexpired Lease
has been assumed by the Debtors pursuant to Final Order, or (C) any document,
instrument, or agreement executed to implement the Plan, or (iii) releasing any rights to
distributions required to be paid or delivered pursuant to the Plan or the Confirmation
Order.

       Notwithstanding anything to the contrary in the preceding paragraph, the Putative
Class Action Representatives shall not be deemed to constitute Releasing Parties; provided,
that the Debtors do not concede that the certification of a class is appropriate in any of the
Putative Class Actions and the exclusion of the Putative Class Action Representatives from

Excluded Parties, each in its capacity as such; provided that, notwithstanding anything in the foregoing, any Person
or Entity that is an Excluded Party shall not be a Released Party; provided further that, notwithstanding anything in
the foregoing, any Person or Entity that is entitled to vote on the Plan but does not vote to accept the Plan or
otherwise        opt     in     to      the      releases      shall     not      be       a     Released      Party.

“Excluded Parties” means Foxconn and the Former Directors and Officers.
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the releases set forth herein shall not constitute an admission by any Person or Entity,
including the Debtors, that a class is appropriate in any of the Putative Class Actions;
provided further, that the Debtors do not concede that the exclusion of the Putative Class
Action Representatives from the releases set forth herein in any way binds the other
members of any putative class or in any way affects the decision of any such putative class
members to be a Releasing Party and grant the releases set forth herein. All of the rights of
the Debtors, the Putative Class Action Representatives and any other party in connection
with the potential certification of any putative class and/or the granting of releases are
expressly reserved in all respects. If the exclusion of the Putative Class Action
Representative from the releases set forth herein does not bind other class members (as is
the Debtors’ contention), each such class member that is a Releasing Party under the terms
of the Plan shall be deemed to have conclusively, absolutely, unconditionally, irrevocably,
and forever released, waived, and discharged each Released Party from any Claims related
to or asserted in the Putative Class Actions (which actions include, for the avoidance of any
doubt, the Ohio Securities Class Action, the Delaware Shareholder Class Action, and the
Post-Petition Securities Action).

       Additionally, notwithstanding anything to the contrary in the Plan or the
Confirmation Order, nothing herein or therein does, shall, or may be construed to release,
the Debtors or bar the assertion of claims against them as nominal defendants in the Post-
Petition Securities Action for purposes of preserving and enforcing rights to coverage
under and recovery of the proceeds of the D&O Liability Insurance Policies.

Article VIII of the Plan also contains the following provisions:

C.     Releases by the Debtors

        Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable
consideration, the adequacy of which is hereby confirmed, as of the Effective Date, the
Debtors and their Estates, the Post-Effective Date Debtors and each of their respective
current and former Affiliates (with respect to non-Debtors, to the extent permitted by
applicable law), on behalf of themselves and their respective Estates, including, without
limitation, any successor to the Debtors or any Estate representative appointed or selected
pursuant to section 1123(b)(3) of the Bankruptcy Code, shall be deemed to have
conclusively, absolutely, unconditionally, irrevocably, and forever released, waived, and
discharged the Released Parties from any and all Claims, Interests, obligations, rights,
suits, damages, Causes of Action, remedies, and liabilities whatsoever, in each case,
whether prepetition or postpetition (including any derivative Claims asserted or that may
be asserted on behalf of the Debtors or their Estates), whether known or unknown,
foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, based
on or relating to, or in any manner arising from, in whole or in part, the Debtors or the
conduct of their business (in each case, whether prepetition or postpetition), the
formulation, preparation, dissemination, negotiation of the Plan, the Disclosure Statement,
any contract, instrument, release, or other agreement or document created or entered into
in connection with the Plan, the Disclosure Statement, the Chapter 11 Cases, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the
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Plan, including the distribution of property under the Plan, or any other related
agreement, or upon any other act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date (in each case, whether prepetition
or postpetition) related or relating to the foregoing. Notwithstanding anything to the
contrary in the foregoing, the releases set forth in this Article VIII.C shall not release
(i) any Released Party from Claims or Causes of Action arising from an act or omission
that is judicially determined by a Final Order to have constituted actual fraud, willful
misconduct, or gross negligence, or (ii) any post-Effective Date obligations of any party or
Entity under the Plan or any document, instrument, or agreement executed to implement
the Plan.

E.       Exculpation

        Except as otherwise specifically provided in the Plan, no Exculpated Party 5 shall
have or incur liability for, and each Exculpated Party is hereby exculpated from, any
Cause of Action for any claim related to any act or omission from the Petition Date to the
Effective Date in connection with, relating to, or arising out of, the Chapter 11 Cases, in
whole or in part, the Debtors, the formulation, preparation, dissemination, negotiation, of
the Plan, the Disclosure Statement, any contract, instrument, release, or other agreement
or document created or entered into in connection with the Plan, the Disclosure Statement,
the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
Consummation, the administration and implementation of the Plan or the distribution of
Cash under the Plan, or any other related agreement, except for Claims or Causes of
Action arising from an act or omission that is judicially determined in a Final Order to
have constituted actual fraud, willful misconduct, or gross negligence, but in all respects,
such Exculpated Parties shall be entitled to the fullest extent permitted by law to
reasonably rely upon the advice of counsel with respect to their duties and responsibilities.
The Exculpated Parties have, and upon Consummation of the Plan, shall be deemed to
have, participated in good faith and in compliance with the applicable laws with regard to
the solicitation of, and distribution of, consideration pursuant to the Plan and, therefore,
are not, and on account of such distributions shall not be, liable at any time for the
violation of any applicable law, rule, or regulation governing the solicitation of acceptances
or rejections of the Plan or such distributions made pursuant to the Plan.

F.       Injunction

     EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR FOR
DISTRIBUTIONS REQUIRED TO BE PAID OR DELIVERED PURSUANT TO THE
PLAN OR THE CONFIRMATION ORDER, ALL ENTITIES THAT HAVE HELD,

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  “Exculpated Parties” means each of the following in their capacity as such: (i) the Debtors; (ii) the Chapter 11
Directors and Officers, (iii) agents, members of management and other employees of the Debtors, in each case who
are or were acting in such capacity on or after the Petition Date; (iv) the UCC and the UCC Members; (v) the EC
and the EC Members; and (vi) all predecessors, successors and assigns, subsidiaries, affiliates, members, partners,
officers, directors, agents, attorneys, advisors, accountants, investment bankers, consultants, and other professionals,
to the extent such parties are or were acting in such capacity of any of the Persons identified in (i), (ii), (iii) (iv), and
(v) above on or after the Petition Date.
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HOLD, OR MAY HOLD CLAIMS OR INTERESTS THAT HAVE (1) BEEN RELEASED
PURSUANT TO ARTICLE VIII.C OR ARTICLE VIII.D OF THE PLAN, (2) SHALL BE
DISCHARGED PURSUANT TO ARTICLE VIII.D OF THE PLAN, OR (3) ARE
SUBJECT TO EXCULPATION PURSUANT TO ARTICLE VIII.E OF THE PLAN, ARE
PERMANENTLY ENJOINED, FROM AND AFTER THE EFFECTIVE DATE, FROM
TAKING ANY OF THE FOLLOWING ACTIONS AGAINST, AS APPLICABLE, THE
DEBTORS, THE REORGANIZED DEBTORS, THE RELEASED PARTIES (TO THE
EXTENT OF THE RELEASES PROVIDED PURSUANT TO ARTICLE XIII.D WITH
RESPECT TO THE RELEASED PARTIES), OR THE EXCULPATED PARTIES (TO
THE EXTENT OF THE EXCULPATION PROVIDED PURSUANT TO ARTICLE VIII.E
OF THE PLAN WITH RESPECT TO THE EXCULPATED PARTIES):
(I) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH OR
WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (II) ENFORCING,
ATTACHING, COLLECTING, OR RECOVERING BY ANY MANNER OR MEANS
ANY JUDGMENT, AWARD, DECREE, OR ORDER AGAINST SUCH ENTITIES ON
ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
CLAIMS OR INTERESTS; (III) CREATING, PERFECTING, OR ENFORCING ANY
LIEN OR ENCUMBRANCE OF ANY KIND AGAINST SUCH ENTITIES OR THE
PROPERTY OR THE ESTATES OF SUCH ENTITIES ON ACCOUNT OF OR IN
CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR
INTERESTS; (IV) EXCEPT TO THE EXTENT REQUIRED TO RENDER HOLDERS
OF CLASS 5 UNIMPAIRED, ASSERTING ANY RIGHT OF SETOFF, SUBROGATION,
OR RECOUPMENT OF ANY KIND AGAINST ANY OBLIGATION DUE FROM SUCH
ENTITIES OR AGAINST THE PROPERTY OF SUCH ENTITIES ON ACCOUNT OF
OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR
INTERESTS UNLESS SUCH ENTITY HAS TIMELY ASSERTED SUCH SETOFF
RIGHT IN A DOCUMENT (WHICH MAY BE A PROOF OF CLAIM) FILED WITH
THE BANKRUPTCY COURT IN ACCORDANCE WITH THE TERMS OF THE PLAN
EXPLICITLY PRESERVING SUCH SETOFF, AND NOTWITHSTANDING AN
INDICATION OF A CLAIM OR INTEREST OR OTHERWISE THAT SUCH ENTITY
ASSERTS, HAS, OR INTENDS TO PRESERVE ANY RIGHT OF SETOFF PURSUANT
TO APPLICABLE LAW OR OTHERWISE; AND (V) COMMENCING OR
CONTINUING IN ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY
KIND ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY
SUCH CLAIMS OR INTERESTS RELEASED OR SETTLED PURSUANT TO THE
PLAN.
     FOR THE AVOIDANCE OF DOUBT, NOTHING IN ARTICLE VIII.F OF THE
PLAN SHALL AFFECT ANY RIGHT OF FOXCONN TO SETOFF OR RECOUP THE
AMOUNT OF ANY ALLOWED CLAIM OR THE AMOUNT OF ANY DISTRIBUTIONS
TO WHICH THEY ARE ENTITLED ON ACCOUNT OF ALLOWED FOXCONN
PREFERRED STOCK INTERESTS, IF ANY, AND ALL SUCH RIGHTS SHALL BE
FULLY PRESERVED TO THE EXTENT AVAILABLE UNDER APPLICABLE LAW
(AND ANY RIGHT OF THE DEBTORS AND THE POST-REORGANIZED DEBTORS
WITH RESPECT TO THE FOREGOING SHALL ALSO BE PRESERVED).
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IF THE PLAN IS CONFIRMED BY THE BANKRUPTCY COURT, THE DEBTOR
RELEASES, EXCULPATION AND INJUNCTION PROVISIONS SET FORTH IN
ARTICLES VIII.C, VIII.E AND VIII.F OF THE PLAN, RESPECTIVELY, WILL BE
BINDING ON BENEFICIAL HOLDERS WHETHER OR NOT THEY ELECT TO OPT IN TO
THE RELEASES IN ARTICLE VIII.D OF THE PLAN.

Item 3. Other Beneficial Holder Ballots Submitted.

        By returning this Beneficial Holder Ballot, the holder of the Interests identified in Item 1
certifies that (a) this Beneficial Holder Ballot is the only Beneficial Holder Ballot submitted for
Interests identified in Item 1 owned by such holder, except as identified in the following table,
and (b) all Beneficial Holder Ballots submitted by the holder in the same Class indicate the same
vote to accept or reject the Plan that the Beneficial Holder has indicated in Item 1 of this
Beneficial Holder Ballot (please use additional sheets of paper if necessary):

     ONLY COMPLETE THIS TABLE IF YOU HAVE VOTED OTHER CLAIMS OR
INTERESTS IN THE SAME CLASS ON OTHER BENEFICIAL HOLDER BALLOTS

  Your Name or Customer
 Account Number for Other                                              Other Class 7 Common
                                    Name of Record Owner
 Account for Which a Ballot                                             Stock InterestsVoted
    Has Been Submitted




Item 4. Certifications, Acknowledgment, Signature and Date.

By signing this Beneficial Holder Ballot, the undersigned entity certifies to the Bankruptcy Court
and the Debtors that:

       a)      as of the Voting Record Date, either: (i) the entity is the holder of the Class 7
               Common Stock Interests being voted on this Beneficial Holder Ballot; or (ii) the
               entity is an authorized signatory for the entity that is the holder of the Class 7
               Common Stock Interestsbeing voted;

       b)      that it has received a copy of the Disclosure Statement, the Plan and the
               Solicitation Package and acknowledges that the solicitation is being made
               pursuant to the terms and conditions set forth therein;

       c)      that it has cast the same vote with respect to all Class 7 Common Stock Interests;

       d)      it has not submitted any other Beneficial Holder Ballots with respect to the
               amount of the Interests identified in Item 1 have been cast or, if any other

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        Beneficial Holder Ballots have been cast with respect to such Interests, then any
        such earlier received Beneficial Holder Ballots are hereby revoked;

e)      that it acknowledges that a vote to accept the Plan constitutes an acceptance of the
        treatment of Class 7 Common Stock Interests pursuant to the Plan and to be a
        Releasing Party under the Plan;

f)      that it acknowledges and understands that (i) if no Holders of Claims and Interests
        eligible to vote in a particular Class vote to accept or reject the Plan, the Plan shall
        be deemed accepted by the Holders of such Claims and Interests in such Class;
        and (ii) any Class of Claims and Interests that does not have a Holder of an
        Allowed Claim or Interest or a Claim temporarily allowed by the Bankruptcy
        Court as the date of the Confirmation Hearing shall be deemed eliminated from
        the Plan for purposes of voting to accept or reject the Plan and for purposes of
        determining acceptance or rejection of the Plan by such Class pursuant to section
        1129(a)(8) of the Bankruptcy Code;

g)      that it acknowledges and agrees that the Debtors may make conforming changes
        to the Plan to the extent provided by Bankruptcy Rule 3019 as may be reasonably
        necessary; provided that the Debtors will not re-solicit acceptances or rejections
        of the Plan in the event of such conforming changes; and

h)      the undersigned understands that an otherwise properly completed, executed, and
        timely returned Ballot failing to indicate either acceptance or rejection of the Plan,
        or indicating both acceptance and rejection of the Plan, will not be counted.

                         [SIGNATURE PAGE FOLLOWS]




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Name of Beneficial Holder:______________________________________________________

                                          (print or type)

DTC Participant Number:_______________________________________________________

Signature: ___________________________________________________________________

Name of Signatory: ___________________________________________________________

                                 (if other than Beneficial Holder)

Title: _______________________________________________________________________

Address: ____________________________________________________________________

____________________________________________________________________________

____________________________________________________________________________

Date Completed:______________________________________________________________

Email Address: ______________________________________________________________


PLEASE COMPLETE, SIGN, AND DATE THIS BENEFICIAL BALLOT AND RETURN
 IT PROMPTLY TO YOUR NOMINEE BASED ON THE INSTRUCTIONS PROVIDED
                         BY YOUR NOMINEE

        If you have questions about this Beneficial Holder Ballot, or if you did not receive access
to a copy of the Plan or any related materials, please contact your Nominee.

         If you have questions about this Ballot, or if you did not receive access to a copy of the
Plan or any related materials, please contact the Solicitation Agent by (a) calling the Debtors’
toll-free restructuring hotline at (877) 709-4757 (U.S./Canada) or (424) 236-7235 (international);
(b) visiting the Debtors’ restructuring website at https://www.kccllc.net/lordstown; (c) writing to
Lordstown Processing Center, c/o Kurtzman Carson Consultants LLC, 222 N. Pacific Coast
Highway, Suite 300, El Segundo, CA 90245 or (d) emailing lordstownballots@kccllc.net (with
‘Lordstown’ in the subject line).

    THE SOLICITATION AGENT IS NOT AUTHORIZED TO, AND WILL NOT,
PROVIDE LEGAL ADVICE.

       Any admission of Claims and Interests for purposes of voting on the Plan is not an
admission of liability on the part of the Debtors or any other party for payment purposes.



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     INSTRUCTIONS FOR COMPLETING THIS BENEFICIAL HOLDER BALLOT

To properly complete this Beneficial Holder Ballot, you must follow the procedures described
below, which explain each of the items contained on your Beneficial Holder Ballot. If you have
any questions, please contact your Nominee.

The Bankruptcy Court may confirm the Plan and thereby bind the Holders of the
Common Stock Interests, by the terms of the Plan. Please review the Disclosure Statement
for more information.

1.     Submitting the Beneficial Holder Ballot

        Unless otherwise instructed by your Nominee, to ensure that your vote is counted, you
must submit your Beneficial Holder Ballot to your Nominee in sufficient time to allow your
Nominee to process your vote and submit a Master Ballot so that the Master Ballot is actually
received by the Solicitation Agent by the Voting Deadline. You may instruct your Nominee to
vote on your behalf in the Master Ballot as follows: (a) complete the Beneficial Holder Ballot;
(b) indicate your decision either to accept or reject the Plan in the boxes provided in Item 1 of the
Beneficial Holder Ballot; (c) indicate your decision whether to opt in to the release in the box
provided in Item 2 of the Beneficial Holder Ballot; and (d) sign and return the Beneficial Holder
Ballot to your Nominee in accordance with the instructions provided by your Nominee. The
Voting Deadline for the receipt of Master Ballots by the Solicitation Agent is Decembe r1, 2023
at 5:00 p.m. (prevailing Eastern Time). Your completed Beneficial Holder Ballot must be
received by your Nominee in sufficient time to permit your Nominee to deliver your vote to the
Solicitation Agent on the Master Ballot on or before the Voting Deadline.

2.     To fill out your Beneficial Holder Ballot, you must complete the following:

       a.      Item 1. Beneficial Holder of Common Stock Interests. Subject to the terms
               and conditions of the Plan, Common Stock Interests will receive treatment as
               provided for in Article III of the Plan for Common Stock Interests in Class 7, and
               will be administered as provided for in Article VI of the Plan, only to the extent
               such Common Stock Interests are Allowed and the Plan is consummated. You
               should review the particular treatment of Class 7 before you vote this Beneficial
               Holder Ballot. For additional discussion of treatment and rights under the
               Plan, please read the Disclosure Statement and the Plan.

       b.      Item 2. Release By Holders of Claims and Interests. Pursuant to Article VIII.D
               of the Plan, the Debtors seek approval of the release provision set forth in Article
               VIII.D of the Plan and provided above. Holders of Claims and Interests that vote
               to reject the Plan may opt in to this release by checking the box in Item 2.

IF THE PLAN BECOMES EFFECTIVE, AS A HOLDER OF COMMON STOCK
INTERESTS UNDER THE PLAN, IF YOU VOTE TO ACCEPT THE PLAN, YOU ARE
DEEMED TO PROVIDE THE RELEASES CONTAINED IN ARTICLE VIII.D OF THE
PLAN, AS SET FORTH ABOVE. IF YOU VOTE TO REJECT THE PLAN, YOU MAY
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CHECK THE BOX IN ITEM 3 TO OPT IN TO THE RELEASES. IF YOU DO NOT
RETURN THE BALLOT OR ABSTAIN FROM VOTING ON THE PLAN, YOU WILL
NOT BE BOUND BY THE RELEASES.


    c.      Item 3. Other Beneficial Holder Ballots Submitted. Use the table provided in
            Item 3 to indicate if you have voted other Interests in the same Class on other
            Beneficial Holder Ballots.

    d.      Item 4. Certifications. By signing this Beneficial Holder Ballot, the undersigned
            entity certifies to the Bankruptcy Court and the Debtors that:

            1)     as of the Voting Record Date, either: (i) the entity is the holder of the
                   Common Stock Interests being voted on this Beneficial Holder Ballot; or
                   (ii) the entity is an authorized signatory for the entity that is the holder of
                   the Class 7 Common Stock Interests being voted;

            2)     it has received a copy of the Disclosure Statement Order, including the
                   attached Solicitation Procedures and other exhibits (to be accessed
                   electronically as described above) and acknowledges that the solicitation
                   is being made pursuant to the terms and conditions set forth therein;

            3)     it has cast the same vote with respect to all Class 7 Common Stock
                   Interests;

            4)     no other Beneficial Holder Ballots with respect to the amount of the
                   Interests identified in Item 1 have been cast or, if any other Beneficial
                   Holder Ballots have been cast with respect to such Interests, then any such
                   earlier received Beneficial Holder Ballots are hereby revoked;

            5)     it acknowledges that a vote to accept the Plan constitutes an acceptance of
                   the treatment of such Class 7 Common Stock Interests and to be a
                   Releasing Party under the Plan;

            6)     it understands and, if accepting the Plan, agrees with the treatment
                   provided for its Interest(s) under the Plan;

            7)     it acknowledges and understands that (i) if no Holders of Claims or
                   Interests eligible to vote in a particular Class vote to accept or reject the
                   Plan, the Plan shall be deemed accepted by the Holders of such Claims or
                   Interests in such Class; and (ii) any Class of Claims or Interests that does
                   not have a Holder of an Allowed Claim or Interest or a Claim temporarily
                   allowed by the Bankruptcy Court as the date of the Confirmation Hearing
                   shall be deemed eliminated from the Plan for purposes of voting to accept
                   or reject the Plan and for purposes of determining acceptance or rejection


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                    of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy
                    Code; and

             8)     it acknowledges and agrees that the Debtors may make conforming
                    changes to the Plan to the extent provided by Bankruptcy Rule 3019 as
                    may be reasonably necessary; provided that the Debtors will not re-solicit
                    acceptances or rejections of the Plan in the event of such conforming
                    changes.

ADDITIONAL INSTRUCTIONS FOR COMPLETING THIS BENEFICIAL HOLDER
BALLOT:

1.   The following Beneficial Holder Ballots will NOT be counted:

     a.      any Beneficial Holder Ballot submitted by a person who does not hold, or
             represent a person that holds, a Claim or Interest in the applicable Voting Class of
             the Voting Record Date

     b.      any Beneficial Holder Ballot received after the Voting Deadline unless the
             Debtors have granted an extension in writing (including electronic mail) with
             respect to such Ballot. Delivery of the Beneficial Holder Ballot shall be deemed
             made only when the original properly executed Beneficial Holder Ballot is
             submitted to your Nominee in sufficient time to permit your Nominee to process
             your vote and deliver your vote on the Master Ballot so that the Master Ballot is
             actually received by the Solicitation Agent on or before the Voting Deadline;

     c.      any Beneficial Holder Ballot that is illegible or contains insufficient information
             to permit the identification of the claimant;

     d.      any Beneficial Holder Ballot that is submitted in an inappropriate form that is not
             the appropriate Ballot for such Claim or Interest;

     e.      any unsigned Beneficial Holder Ballot; provided, however, for the avoidance of
             doubt, a Beneficial Holder Ballot submitted via electronic mail shall be deemed to
             contain an original signature;

     f.      a Beneficial Holder Ballot without a vote on the Plan or in which the claimant has
             voted to both accept and reject the Plan; or

     g.      any Beneficial Holder Ballot that is not completed.

2.   If your Beneficial Holder Ballot is not received by your Nominee in sufficient time to be
     included on a timely submitted Master Ballot, it will not be counted unless the Debtors
     determine otherwise. In all cases, Beneficial Holders should allow sufficient time to
     assure timely delivery of your Beneficial Holder Ballot to your Nominee. No Beneficial
     Holder Ballot should be sent to any of the Debtors, the Debtors’ agents (other than the

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     Solicitation Agent and only with respect to a pre-validated Beneficial Holder Ballot at the
     direction of your Nominee, if any), the Debtors’ financial or legal advisors, and if so sent
     will not be counted.

3.   If you deliver multiple Beneficial Holder Ballots to your Nominee with respect to the
     same Claims or Interests prior to the Voting Deadline, the last received valid Beneficial
     Holder Ballot timely received will supersede and revoke any earlier received Beneficial
     Holder Ballots.

4.   You must vote all of your Claims or Interests within the same Class either to accept or
     reject the Plan and may not split your vote. Further, if a Beneficial Holder has multiple
     Claims or Interests within the same Class, the Debtors may, in their discretion, aggregate
     the Claims or Interests of any particular holder with multiple Claims or Interests within
     the same Class for the purpose of counting votes.

5.   This Beneficial Holder Ballot does not constitute, and shall not be deemed to be (a) a
     Proof of Claim or (b) an assertion or admission with respect to a Claim or Interest.

6.   Please be sure to sign and date your Beneficial Holder Ballot. If you are signing a
     Beneficial Holder Ballot in your capacity as a trustee, executor, administrator, guardian,
     attorney in fact, officer of a corporation, or otherwise acting in a fiduciary or
     representative capacity, you must indicate such capacity when signing and, if required or
     requested by the Solicitation Agent, the Debtors, or the Bankruptcy Court, must submit
     proper evidence to the requesting party to so act on behalf of such holder. In addition,
     please provide your name and mailing address if it is different from that set forth on the
     attached mailing label or if no such mailing label is attached to the Beneficial
     Holder Ballot.

7.   The Beneficial Holder Ballot is not a letter of transmittal and may not be used for any
     purpose other than to vote to accept or reject the Plan. Accordingly, at this time, holders
     of Claims or Interests should not surrender certificates or instruments representing or
     evidencing their Claims or Interests, and the Debtors will not accept delivery of any such
     certificates or instruments surrendered together with a Ballot.

PLEASE SUBMIT YOUR BENEFICIAL HOLDER BALLOT PROMPTLY IN
ACCORDANCE WITH THE INSTRUCTIONS PROVIDED BY YOUR NOMINEE.

NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR ADVICE,
OR TO MAKE ANY REPRESENTATION, OTHER THAN WHAT IS CONTAINED IN
THE MATERIALS MAILED WITH THIS BENEFICIAL HOLDER BALLOT OR
OTHER MATERIALS AUTHORIZED BY THE BANKRUPTCY COURT.

IF YOU HAVE ANY QUESTIONS REGARDING THE BENEFICIAL HOLDER
BALLOT, RECEIVED A DAMAGED BENEFICIAL HOLDER BALLOT OR HAVE
LOST YOUR BENEFICIAL HOLDER BALLOT, OR NEED ADDITIONAL COPIES OF
THE BENEFICIAL HOLDER BALLOT OR OTHER ENCLOSED MATERIALS,
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PLEASE CONTACT THE SOLICITATION AGENT AT:

TELEPHONE: (877) 709-4757 (U.S./CANADA) OR (424) 236-7235 (INTERNATIONAL)

EMAIL: LORDSTOWNINFO@KCCLLC.COM

WEBSITE: HTTPS://WWW.KCCLLC.NET/LORDSTOWN




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